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             EXHIBIT D
              PUBLIC VERSION
                                                           EXHIBIT D
                                                        (Served July 1, 2021)
   Qualcomm Infringing Products – Preliminary Infringement Claim Chart for U.S. Patent No. 7,346,313
       The Qualcomm Infringing Products are any product made, used, sold, imported, and/or offered for sale in the United States by
Qualcomm that includes a 5G Wireless Transceiver and/or an 802.11ax Wireless Transceiver. Based on information presently
available to it, Red Rock contends that the Qualcomm Infringing Products include without limitation the products listed in Exhibit B.
The Qualcomm Infringing Products also include any future 5G or later and/or 802.11ax or later products made, used, sold, imported,
and/or offered for sale in the United States by Qualcomm.
        Red Rock is informed and believes that each Qualcomm Infringing Product includes at least one 5G wireless transceiver and/or
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at least one 802.11ax wireless transceiver, implementing calibration systems and methods claimed by United States Patent No.
7,346,313 (“the ’313 Patent”).
        Based on the information presently available to it, Red Rock contends that Qualcomm directly infringes the ’313 Patent by
making, using, selling, or offering to sell within the United States, or importing into the United States, Qualcomm Infringing Products
implementing the claimed calibration systems and/or methods. Red Rock also contends that Qualcomm indirectly infringes the ’313
Patent by actively inducing and contributing to its customers’ direct infringement of the Asserted Claims.
                                                                                                                                          Document 124




        Based on the information presently available to it, Red Rock contends that every Qualcomm Infringing Product performs I-Q
gain imbalance calibration in an identical or substantially similar manner. Accordingly, the infringement theories and evidence
disclosed in these contentions is exemplary of Red Rock’s infringement theories and evidence for each and every Qualcomm
Infringing Product, irrespective of which Qualcomm Transceiver it contains.
        Red Rock contends that all Qualcomm 5G wireless transceivers and/or Qualcomm 802.11ax wireless transceivers perform I-Q
gain imbalance calibration according to certain disclosures found in U.S. Patents assigned to Qualcomm, papers authored by
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Qualcomm personnel, third-party analyses of Qualcomm chips, and other additional evidence. Examples of relevant disclosures are
cited herein.


CLAIM 7                                                  ELEMENTS IN QUALCOMM INFRINGING PRODUCT
                                                                                                                                          Page 2 of 25




7[A]. A transceiver system   The Qualcomm Infringing Products comprise a transceiver system. As described above, each Qualcomm
comprising:                  Infringing Product includes a Qualcomm 5G wireless transceiver and/or a Qualcomm 802.11ax wireless



                                                                  1
transceiver.


The Qualcomm SDR865, SDX55M, and SMR526 chips comprise a transceiver system, both
individually and collectively.
The SDR865 is a full-featured 5G platform:
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https://www.qualcomm.com/system/files/document/files/prod_brief_qcom_sd865_5g.pdf


SDR865 is a full-featured 802.11ax platform comprising the Qualcomm FastConnect 6800 Wi-Fi 6
subsystem:
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                                               The SDR865 comprises the SDX55M modem-RF system chip:




                                                                                                                      3
                                        Id.
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                                                                                                    Document 124




Id.
                                                                                                    Filed 05/04/22




The SDX55M “is a comprehensive modem-to-antenna solution designed to allow OEMs to build 5G
multimode devices.” https://www.qualcomm.com/products/snapdragon-x55-5g-modem


As shown above, the SDX55M supports 4x4 MIMO, which means it is a transceiver and it must contain
at least four transmit chains and at least four receive chains.
                                                                                                    Page 5 of 25




                                  4
As shown above, the FastConnect 6800 supports 8x8 MU-MIMO, which means it is a transceiver and it
must contain at least eight transmit chains and at least eight receive chains


The SDX55M interfaces with one or more RF transceiver and/or RF front-end modules, such as the
QTM525 and/or the SMR526, to form a transceiver system.
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                                  5
Tech Insights performed an RF architecture analysis of the Qualcomm SMR526 RF Transceiver. That
Report shows, for example, that the SMR 526 is part of a transceiver system:
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                                                                                                          Document 124




Tech Insights: RF Architecture Analysis of the Qualcomm SMR526 RF Transceiver, Report ID#: ARC-
                                                                                                          Filed 05/04/22




2005-801 at v (hereinafter “TechInsights”).



Qualcomm and the industry as a whole recognize the essential need for I-Q gain imbalance calibration in
                                                                                                          Page 7 of 25




5G wireless transceivers.
In an academic paper that “was supported by Qualcomm Inc.” the authors wrote:



                                    6
      At present, existing commercial standards in the RF bands (1–6 GHz), such as wideband
      code division multiple access, local thermal equilibrium, and Wi-Fi, provide as much as
      160-MHz BW with data rates as high as 1000 Mb/s per user. The demand for more
      accessible BW and higher data rate is predicted to grow as the next-generation
      communication systems; that is, 5G is expected to support 1000 times higher data per
      area, and 10–100 times higher data rates per user (10–100 Gb/s) with as much as 10×
      extension in battery life compared to existing solutions. The RF spectrum, in the 1–6-
      GHz band, has become increasingly crowded with incremental improvements in spectral
      efficiency through higher order signal modulation schemes, e.g., 1024 QAM. … utilizing
      a direct-conversion architecture to realize a mm-wave transceiver requires I–Q signals
      that are highly phase accurate (90°), with a minimal amplitude mismatch.
                                                                                                     Case 6:21-cv-00346-ADA




T Zhang, et al., “A Precision Wideband Quadrature Generation Technique With Feedback Control for
Millimeter-Wave Communication Systems,” IEEE TRANSACTIONS ON MICROWAVE THEORY AND
TECHNIQUES, Vol. 66, No. 1 at 215 (Jan. 2018).


3GPP TS 38.101-1 (see, e.g., version 15.2.0 Release 15 at section 6.4.2.1) specifies minimum EVM
requirements for various 5G modulation schema:
                                                                                                     Document 124
                                                                                                     Filed 05/04/22
                                                                                                     Page 8 of 25




The Qualcomm Infringing Products and their Qualcomm 5G wireless transceivers are required to meet
or exceed these minimum EVM levels. On information and belief, it is standard industry practice to


                                  7
exceed these minimum requirements by 2dB or more, in order to ensure compliance across
manufacturing tolerance ranges. These requirements cannot be achieved without performing I-Q gain
imbalance calibration. On information and belief, there are no acceptable non-infringing alternatives to
the ’313 Patent that would enable compliance with these requirements.


Qualcomm’s US App. No. 2020/0029345 also recognizes the need for calibration in 5G chips:
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A paper authored by Samsung engineers Aoki et al. recognizes the need for I-Q calibration in 5G
wireless transceivers: “IQ imbalances generate an unwanted image signal in the inversed-sign side of the
baseband frequency. The image signal degrades the signal-to-noise ratio (SNR), and consequently,
                                                                                                           Page 9 of 25




causes degradation in the error vector magnitude (EVM). 5G supports 256 QAM which requires an
DYHUDJH (90 RI í G%   7KH LPDJH-rejection ratio (IRR) must be significantly larger than


                                    8
29.1 dB.” Aoki et al., 1.4-GHZ BANDWIDTH FREQUENCY-DEPENDENT I/Q IMBALANCE CALIBRATION FOR
5G MMWAVE COMMUNICATIONS, 2019 IEEE/MTT-S International Microwave Symposium at 626. This
paper also proposes a loopback-based calibration system to address these I-Q gain imbalances:
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                                                                                                            Document 124




“This paper presents a frequency-dependent inphase and quadrature-phase (IQ) imbalance calibration
technique for ultra-wide bandwidth 5G millimeter-wave communication chipsets. Using a multi-tone
training signal and a phase shifter inserted in the transceiver local loopback path, the transmitter and
receiver IQ imbalances can be estimated separately.” Id. (emphasis added).
                                                                                                            Filed 05/04/22




A Qualcomm employee named Afsaneh Nassery authored a paper championing the importance of
loopback I-Q gain imbalance calibration: “We propose a self-test method for zero-IF radio frequency
transceivers using primarily loopback, aided by a small built-in self-test (BIST) circuitry, to determine
critical performance parameters, such as I/Q imbalance and nonlinearity coefficients.” Nassery et al.,
BUILT-IN SELF-TEST AND DIGITAL CALIBRATION OF ZERO-IF RF TRANSCEIVERS, IEEE
                                                                                                            Page 10 of 25




TRANSACTIONS ON VERY LARGE SCALE INTEGRATION (VLSI) SYSTEMS at 1 (emphasis



                                    9
added) (hereinafter “Nassery”).


Qualcomm and the industry as a whole recognize the essential need for I-Q gain imbalance calibration in
802.11ax wireless transceivers.


The 802.11ax (Wi-Fi 6) standard imposes even more stringent EVM requirements than the 5G standard.
Therefore, I-Q gain imbalance calibration is necessary to meet the requirements of the Wi-Fi 6 standard
for the same reasons that such calibration is necessary to meet the requirements of the 5G standard:
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See IEEE P802.11ax/D8.0 at 678; see also IEEE 802.11ax-2021 at 636 (Table 27-49).
The Qualcomm Infringing Products and their Qualcomm 802.11ax wireless transceivers are required to
meet or exceed these minimum EVM levels. On information and belief, it is standard industry practice
to exceed these minimum requirements by 2dB or more, in order to ensure compliance across
manufacturing tolerance ranges. These requirements cannot be achieved without performing I-Q gain
                                                                                                           Page 12 of 25




imbalance calibration. On information and belief, there are no acceptable non-infringing alternatives to
the ’313 Patent that would enable compliance with these requirements.



                                   11
                              Red Rock alleges that the Qualcomm Infringing Products perform I-Q gain imbalance calibration in the
                              manner recited in one or more of several Qualcomm patents and other documents, cited herein. Each of
                              these I-Q calibration techniques infringes the ’313 Patent, as shown below.


7[B] a transmit chain         The Qualcomm Infringing Products include a transmit chain.
including: a signal
generator for generating a
baseband transmit signal;     See 7[A] above.
baseband I-Q amplification
                                                                                                                                     Case 6:21-cv-00346-ADA




subsystem for providing
baseband amplification of     Transmit chains are highlighted in yellow in the figures below.
the baseband transmit
signal; a direct-conversion
subsystem for converting
the baseband transmit
                                                                                                                                     Document 124




signal to an RF transmit
signal, and an RF transmit
signal port;
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                              U.S. Pat. No. 8,478,222 (“’222 Patent”) at Fig. 2A.
                                                                                                                                     Page 13 of 25




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                                                                              Document 124




U.S. Pat. No. 10,116,485 (“’485 Patent”) at Fig. 5; see also id. at Fig. 2.
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                                                                                  14
                                 Nassery at 2.
                                                                                                             Case 6:21-cv-00346-ADA
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TechInsights at 16 (illustrating portions of transmit chain); see also id. at 19 (same); see also id. at 1
(“The schematics in this report use single lines for multi-wire (such as differential, quadrature, multi-
phase etc..) signals.”) (emphasis added).
                                                                                                             Filed 05/04/22




The transmit chain includes a signal generator for generating a baseband transmit signal:
                                                                                                             Page 16 of 25




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’222 Patent at 5:29-35.
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’485 Patent at 7:11-15.
                                                                                                         Document 124




’485 Patent at 17:44-48.


“Fig. 2 shows the defined test signals, which can easily be generated by on-chip digital resources
                                                                                                         Filed 05/04/22




(e.g., the DSP). Dividing the test signal into two phases and exciting one arm at a time with a simple
sinusoidal signal are the first step in decoupling various internal parameters.”
Nassery at 3.


The transmit chain includes a baseband I-Q amplification subsystem for providing baseband
                                                                                                         Page 17 of 25




amplification of the baseband transmit signal:




                                   16
’222 Patent at Fig. 2A.
                                                                                                        Case 6:21-cv-00346-ADA
                                                                                                        Document 124




’222 Patent at 5:29-35.
                                                                                                        Filed 05/04/22




’485 Patent at 21:26-32.


The transmit chain includes a direct-conversion subsystem for converting the baseband transmit signal
to an RF transmit signal.
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                                                                                                         18
                                                                              ’485 Patent at 18:26-39.
                    ’222 Patent at 5:55-64.
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                                                                                               19
                                    ’485 Patent at 7:11-29.
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                                                                                 20
                                Nassery at 2.
                                                                                                           Case 6:21-cv-00346-ADA
                                                                                                           Document 124




TechInsights at 16; see also id. at 19.
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The transmit chain includes a RF transmit signal port. A RF transmit signal port is provided at or after
the transmit RF mixer and at or before the antenna:
                                                                                                           Page 22 of 25




                                      21
’222 Patent at Fig. 2A. The transmit signal port in Figure 2A is located between transmit mixers (214)
                                                                                                         Case 6:21-cv-00346-ADA




and the antenna (216).
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’485 Patent at Fig. 5; see also id. at Fig. 2 (same).



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                                                                           23
                                           Nassery at 2.
                                                                                              Case 6:21-cv-00346-ADA
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                             TechInsights at 16; see also id. at 19.


7[C] a receive chain         The Qualcomm Infringing Products include a receive chain.
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including: an RF receive
port for receiving an RF
receive signal; a direct-    See 7[A] above.
conversion subsystem for
converting the RF receive
signal to a baseband
receive signal; a baseband   Receive chains are highlighted in yellow in the figures below.
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I-Q amplification
subsystem for providing


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